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15   Attorneys for Defendant Lloyd Cellars, Inc., a
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16

17
                                 UNITED STATES DISTRICT COURT
18
                              NORTHERN DISTRICT OF CALIFORNIA
19
                                          SAN FRANCISCO DIVISION
20   ROMBAUER FAMILY PARTNERSHIP                          CASE NO. 3:15-cv-02182-RS
21
     II, L.P., a California limited partnership;
     ROMBAUER VINEYARDS, INC., a
22   California corporation,                              STIPULATION AND [PROPOSED]
                                                          ORDER OF DISMISSAL WITHOUT
23                          Plaintiffs,
                                                          PREJUDICE
            v.
24
     JAM CELLARS, Inc., a California
25   corporation; LLOYD CELLARS, INC., a
26
     California corporation; and DOES 1 through
     100.
27
                            Defendants.
28




                 STIPULATION AND [PROPOSED] ORDER OF DISMISSAL WITHOUT PREJUDICE
                                                      1
                Case 3:15-cv-02182-RS Document 29 Filed 03/18/16 Page 2 of 3



 1   IT IS HEREBY STIPULATED by and between Plaintiffs Rombauer Family Partnership II, L.P.
 2
     and Rombauer Vineyards, Inc. (“Plaintiffs”) and Defendant Lloyd Cellars, Inc., (“Defendant
 3
     Lloyd Cellars”), through their designated counsel that:
 4

 5   1.      Plaintiffs and Defendant Lloyd Cellars have entered into a Settlement Agreement that

 6   resolves the disputes between the parties and provides that this court will retain jurisdiction over
 7
     the parties to this stipulation in the event of a dispute arising out of or relating to Section 2.0 or
 8
     5.0 of the Settlement Agreement.
 9
     2.      The Honorable Richard Seeborg of this Court, and in the event of his unavailability, a
10

11   judge appointed by the Chief Judge, retains continuing jurisdiction over the parties for the sole

12   purpose of resolving and adjudicating all disputes arising out of or relating to any provision of
13
     Section 2.0 and 5.0 in the Settlement Agreement.
14
     3.      The above referenced terms and provisions of the Settlement Agreement may be enforced
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     in the future through proceedings filed directly with this Court before Judge Seeborg, or in the
16

17   event of his unavailability, a judge appointed pursuant to paragraph 2 above.

18   4.      Subject to the above provisions, and pursuant to Rule 41(a) of the Federal Rules of Civil
19
     Procedure, the present action is dismissed without prejudice.
20
                                                     REIDY LAW GROUP
21                                                   THE IDELL FIRM
22

23

24   Dated: February 25, 2016                        By:    /s/
                                                     Daniel A. Reidy
25                                                   Richard J. Idell
26
                                                     Ory Sandel
                                                     Attorneys for Plaintiffs Rombauer Family
27                                                   Partnership II, L.P. and Rombauer Vineyards, Inc.
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                STIPULATION AND [PROPOSED] ORDER OF DISMISSAL WITHOUT PREJUDICE
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 1                                         THOITS LAW
 2
     Dated: February 24, 2016        By:   /s/Andrew P. Holland
 3                                         Andrew P. Holland
                                           Attorneys for Defendant Lloyd Cellars, Inc.
 4

 5   IT IS SO ORDERED:

 6          March 18,
     Dated: February __, 2016        By:   ________________________
 7
                                           Hon. Richard Seeborg
 8                                         United States District Judge

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               STIPULATION AND [PROPOSED] ORDER OF DISMISSAL WITHOUT PREJUDICE
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